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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION


 IN RE:                                             : CHAPTER 13
 GWENDOLYN EVETTE TROTTER-                          : CASE NO. 24-50505-JAM
 CALHOUN
                                                    :
          Debtor                                    : December 20, 2024

                               OBJECTION TO CONFIRMATION

       Roberta Napolitano, Chapter 13 Standing Trustee, (“Trustee”) objects to the confirmation
of the Chapter 13 Plan (ECF #33, “Plan”) of the above-captioned Debtor (“Debtor”) for the
following reason(s):

1. The Debtor has failed to maintain plan payments: Section 1326(a) of the Bankruptcy Code
   requires the Debtor to start making plan payments within 30 days of filing the plan or the case,
   whichever is earlier. The Debtor filed this case on July 19, 2024 and a Plan (ECF #7) on July
   19, 2024. The Debtor should have paid a total of $2,831.44. To date, the Debtor is overdue in
   the amount of $641.44. Given the failure to make payments, it appears that the Debtor will be
   unable to comply with 11 U.S.C. §1325(a)(6) by making all payments and complying with the
   Plan. The arrearage of approximately one month arises from the failure to make the first two
   payments called for under the Plan. Only one of those payments has been made up.

2. The Plan pays a priority claim for which no proof of claim has been filed. The government
   claims bar date has not passed.

3. The Plan’s treatment of secured creditors violates Section 1325(a)(5) of the Bankruptcy Code.
   The Plan provides for various liens to be deemed unsecured, but the Debtor has not filed a
   motion to determine status or avoid liens. However the Plan appears to treat the liens in
   question as fully secured and it may be appropriate to treat the claims in section 3.1 in that case
   no motion under section 506 would be needed.

4. The Plan treats proof of claim 1 filed by Exeter Finance LLC and secured by a 2007 Toyota
   Matrix. The vehicle is not listed on Scheule A/B.




   Wherefore, the Trustee requests that Confirmation of the Plan be denied.
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                                    ROBERTA NAPOLITANO, TRUSTEE
                                    By: /s/ Patrick Crook
                                    Patrick Crook, Staff Attorney
                                    Chapter 13 Standing Trustee
                                    10 Columbus Blvd., 6th Floor
                                    Hartford, Connecticut 06106
                                    Tel: 860-278-9410, ext. 130
                                    pcrook@ch13rn.com
                                    Federal Bar No.: ct07670
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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                                 Bridgeport Division

IN RE:                                         : CHAPTER 13
GWENDOLYN EVETTE TROTTER-                      : CASE NO. 24-50505-JAM
CALHOUN
                                               :
        Debtor.                                : December 20, 2024

                               CERTIFICATE OF SERVICE

In accordance with the applicable provisions of the Federal Rules of Bankruptcy Procedure,
2002 and 7004, the undersigned certifies that on the date set forth above, the following
documents were served on the U.S. Trustee and all appearing parties via the court’s electronic
filing system, or by first class mail on the parties listed in section 2 below:

  1. Documents Served: Objection to Confirmation

  2. Parties Served Via First Class Mail:
     Debtor(s):
     GWENDOLYN EVETTE TROTTER-CALHOUN
     85 ALANSON RD.
     BRIDGEPORT, CT 06607

  3. Parties Served Electronically Include:
     Debtor’s Attorney: JESSE C. CLARK, ESQ.
     Email: jclark@recoverylawgroup.com

      Office of the United States Trustee:
      Kim McCabe, Assistant United States Trustee
      ustpregion02.nh.ecf@usdoj.gov

                                                                                      /s/
                                          Patrick Crook
                                          Patrick Crook
                                          Chapter 13 Standing Trustee
                                          10 Columbus Blvd., 6th Floor
                                          Hartford, Connecticut 06106
                                          Tel: 860-278-9410, ext. 130
                                          pcrook@ch13rn.com
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